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                   IN THE UNITED STATES DISTRICT COURT
                                                             CLERK. U.S. DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA         ALEXANDRIA. VIRGINIA


                            Alexandria Division



UNITED STATES OF AMERICA,

        v.                              Criminal No.   01:10-cr-370


ANGEL FLORES,

              Petitioner.


                            MEMORANDUM OPINION


        THIS MATTER comes before the Court on Petitioner Angel

Flores'      ("Petitioner") Motion to Vacate,   Set Aside or Correct

Sentence By a Person in Federal Custody Pursuant to 28 U.S.C. §

2255.


        Petitioner was charged with conspiracy to distribute less

than 500 grams of cocaine on August 24, 2010. On August 27,

2010, Andrew M. Stewart, Esq. was appointed to represent

Petitioner. As early as August 30, 2010, Mr. Stewart explained

to Petitioner that he would have the chance to enter a plea or

go to trial. Petitioner reiterated his claims of innocence and

was adamant that he wanted to go to trial,        even after Mr.

Stewart explained that under the government's plea offer with

cooperation and 85% for good time he could potentially receive a

sentence as low as two years and three months.

        On December 15, 2010,   Petitioner was convicted,    following a

jury trial, of conspiracy to distribute less than 500 grams of
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cocaine. On June 3, 2011,      Petitioner was sentenced to 78 months

incarceration.


     Petitioner filed a motion to vacate, set aside, or correct

his sentence pursuant to 28 U.S.C. § 2255. Petitioner challenges

his conviction based upon his allegation that his attorney was

constitutionally ineffective by failing to convey the

government's plea offer and by failing to convince the court to

apply a minor role adjustment at sentencing. For the reasons

stated below,    the Court denies Petitioner's challenge.

     On a motion filed pursuant to 28 U.S.C. § 2255 to vacate,

set aside, or correct a sentence, the petitioner bears the

burden of proving the grounds for collateral relief by a

preponderance of evidence. Vanater v. Boles, 377 F.2d 898, 900

(4th Cir. 1967); Miller v. United States,          261 F.2d 546, 547 (4th

Cir. 1958). A petitioner may attack his sentence or conviction

pursuant to 28 U.S.C. § 2255 on the grounds that his sentence or

conviction was imposed in violation of the Constitution or laws

of the United States,       that the court was without jurisdiction to

impose such a sentence, that the sentence exceeded the maximum

authorized by law, or that the sentence otherwise is subject to

collateral attack.     28 U.S.C.   § 2255;   see also Hill v.       United

States,   368 U.S.   424,   426-27 (1962).

     In Strickland v. Washington,       466 U.S.    668,   687-88    (1984),

the Supreme Court established a two-part test for evaluating
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claims of ineffective assistance of counsel. First, a petitioner

must demonstrate that counsel's performance fell below an

objective standard of reasonableness. Strickland,         466 U.S. at

687-88.   Second, a petitioner must show that "the deficient

performance prejudiced the defense," thereby depriving the

petitioner of a fair trial. Id.

        First, to show deficient performance,    a petitioner must

demonstrate that his counsel's representation "fell below an

objective standard of reasonableness." Id. This standard is

"simply reasonableness under prevailing professional norms . . .

considering all the circumstances" regarding the representation.

Id. at 688. There is a strong presumption that counsel rendered

adequate assistance and made all significant decisions in the

exercise of reasonable professional judgment. Id. at 689-90;

see, e.g., United States v. Terry, 366 F.3d 312, 316-18 (4th

Cir. 2004); Matthews v. Evatt, 105 F.3d 907, 919 (4th Cir.

1997). In assessing whether a petitioner has overcome this

presumption, the analysis of counsel's performance typically

must be comprehensive and not narrowly limited to a review of

counsel's failings. Strickland, 466 U.S. at 691. In applying

this standard, a court should be reluctant to second guess the

tactics of trial lawyers. Goodson v. United States, 564 F.2d

1071,    1072   (4th Cir.   1997).
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     To satisfy the second prong of the Strickland test, the

petitioner must show that there is a "reasonable probability

that, but for counsel's unprofessional errors, the result of the

proceeding would have been different. A reasonable probability

is a probability sufficient to undermine confidence in the

outcome." Smith v. United States, 871 F.Supp. 251, 255 (E.D.Va.

1994) (quoting Strickland, 466 U.S. at 694)). A defendant must

affirmatively prove prejudice that is "so serious as to have

deprive[d]    [him] of a fair trial." Strickland, 466 U.S. at 687.

     "Failure to make the required showing of either deficient

performance or sufficient prejudice defeats the ineffectiveness

claim." Id.   at 700.   Because "[t]he defendant bears the burden of

proving Strickland prejudice," if a defendant fails to meet this

burden, "a reviewing court need not consider the performance

prong." Field v. Attorney Gen, of Md., 956 F.2d 1290, 1297 (4th

Cir. 1992) (citing Strickland, 466 U.S. at 697)).

     Petitioner alleges that his attorney neither explained nor

discussed the full terms and significance of the plea bargain

offer. Under Missouri v. Frye,      132 S. Ct.   1399,   1408 (2012),

"defense counsel has the duty to communicate formal offers from

the prosecution to accept a plea on terms and conditions that

may be favorable to the accused." Here, Mr. Stewart fulfilled

that duty by repeatedly conveying the government's plea offer to

the petitioner. Mr. Stewart's Affidavit details approximately
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eleven times that he met with the petitioner or spoke to him on

the phone,   and approximately four times that Mr. Stewart

explained the government's formal plea offer to Petitioner.

Accordingly, the petitioner has failed to show that Mr.

Stewart's representation with regard to the plea was

unreasonable.


     Petitioner further alleges that he received ineffective

assistance of counsel at sentencing as relates to his role in

the offense because Mr.    Stewart asked the Court for an

adjustment in the offense level but presented no argument or

evidence to sustain Petitioner's role in the offense.         These

allegations are false. In fact, Mr. Stewart argued vigorously

for a two point reduction in Petitioner's offense level and, in

addition, a four point reduction that would give Petitioner

credit for a minimal role.     Further,   Mr. Stewart contrasted the

relatively small amount of time that Flores was involved in the

conspiracy to the longer periods of involvement of the co

conspirators. Although the Court rejected Mr. Stewart's argument

relating to the petitioner's role, Mr. Stewart's advocacy at

sentencing cannot be characterized as "objectively

unreasonable." Thus,    Petitioner has failed to show that Mr.

Stewart was objectively unreasonable in his representation of

Petitioner at sentencing.
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       Nor has Petitioner satisfied the second prong of Strickland

by showing "that there is a reasonable probability that, but for

counsel's unprofessional errors, the result of the proceeding

would have been different. A reasonable probability is a

probability sufficient to undermine confidence in the outcome."

Id.   at   694.   Petitioner has not shown that but    for counsel's


alleged errors, the result of his trial would have been

different. Therefore,       Petitioner has failed to satisfy the

prejudice prong of the Strickland test.

       This Court concludes that defense counsels' performance was

reasonable and was not prejudicial. Therefore, Petitioner's

claim of ineffective assistance of counsel is without merit.

       For the reasons set forth above,     Petitioner's motion is

DENIED.




                                                          ML
                                                    Claude M. Hilton
                                               Unilec! States District Judge


Alexandria, Virginia
December _^3 , 2013
